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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                    8:10CR396
       vs.                                 )
                                           )
ARMANDO PEREZ-LOPEZ,                       )                      ORDER
                                           )
                                           )
                     Defendant.



      This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL MOTION
DEADLINE [27]. Upon review of the file, the court finds that an extension of approximately
10 days should be granted. Pretrial Motions shall be filed by November 30, 2010

       IT IS ORDERED:

       1.     Defendant's MOTION TO EXTEND PRETRIAL MOTION DEADLINE [27] is granted.
Pretrial motions shall be filed on or before November 30, 2010.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between November 19 , 2010 and
November 30, 2010 shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 22rd day of November, 2010.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
